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SOP-8

Restraining Devices & Defensive Devices Policy for the Jefferson
Parish Sheriff’s Office

EFFECTIVE DATE: October 26, 1994 REVISED DATE: July 7, 2014
ISSUING BUREAU/DIVISION: Legal Department

|. The following is a list of acceptable devices, authorized for use by officers who have
completed the JPSO training program for the particular device:

A. DEPARTMENT ISSUED BATONS
B. DEPARTMENT ISSUED OC SPRAY

1. Use of OC Pepper Spray:

Only deputies who may have completed this agency’s prescribed course of
instruction on the use of OC pepper spray will be authorized to carry OC
spray devices.

a. A deputy may employ OC pepper spray in any situation where the use of
that degree of force is justified.

b. OC spray is to be employed to control a non-compliant subject.

c. After the subject has been satisfactorily restrained, the deputy must take
immediate steps to care for the sprayed subject.

d. The deputy who employed the spray is responsible for properly caring for
and monitoring a sprayed individual, unless and until the officer is properly
relieved of that responsibility. When custody is transferred, the receiving
authority should be advised that the subject has been sprayed.

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e. OC spray should not be used when working a parade assignment or any
other situation where crowds of spectators are closely gathered, unless it
is reasonable under the totality of circumstances.

2. Reporting Requirements:

a. Unless otherwise provided by departmental polices and procedures, any
use of OC spray will be reported to the deputy's immediate supervisor as
soon as possible. This includes:

1. Intentional use of OC spray against a human or animal.

2. Unintentional or incidental spraying of a fellow deputy, bystander, or
other person or animal during intentional use of OC spray against a
subject.

b. Intentional employment of OC spray is a use of force. Therefore, unless
otherwise provided by departmental policy, documentation will be made in
the deputy’s report following an OC spray discharge unless that discharge
occurred during testing or training.

c. A Departmental Chemical Agent/Electronic Control Device Usage Report
will also be filled out by the user and forwarded to his/her immediate

supervisor.

3. Replacement:

OC canister should be replaced upon expiration date.

C. DEPARTMENT ISSUED ELECTRONIC CONTROL DEVICES

1. Use of an Electronic Control Device

Only deputies who may have completed this agency’s prescribed course of
instruction on the use of Electronic Control Devices will be authorized to carry
Electronic Control Devices.

a. A deputy may employ Electronic Control Devices in any situation where
the use of that degree of force is justified.

b. After the subject has been satisfactorily restrained, the deputy must take
immediate steps to care for the electronically controlled subject.

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NOTE:

c. The deputy who employed the Electronic Control Device is responsible for

properly caring for and monitoring an electronically controlled individual,
unless and until the officer is properly relieved of that responsibility. When
custody is transferred, the receiving authority should be advised that the
subject has been electronically controlled.

. The Electronic Control Device should not be used when working a parade

assignment or any other situation where crowds of spectators are closely
gathered, unless it is reasonable under the totality of the circumstances.

. The Electronic Control Device is generally analogous to oleoresin

capsicum (OC) spray on the agency use-of-force continuum and
justification to use an Electronic Control Device generally involves the
same type of situations. The primary goal of the Electronic Control Device
is to overcome resistance and gain control of the subject.

Weapon Readiness

1. The device should be carried in an approved holster on the side of the
body opposite the service handgun. Officers not assigned to uniformed
patrol may utilize other department-approved holsters and carry the
weapon consistent with department training.

2. The device shall be carried fully armed with the safety on in
preparation for immediate use.

3. Officers shall be issued a minimum of one spare cartridge as a backup
in case of cartridge failure or the need for redeployment. The spare
cartridge shall be stored and carried in a manner consistent with
training, and the cartridges will be replaced consistent with the
manufacturer’s expiration requirements.

4. Only manufacturer-approved battery power sources shall be used in
the Electronic Control Device.

5. The Electronic Control Device should be subjected to a pre-shift “spark

test” as defined in training to ensure that the device is functioning
properly.

6. No modifications or repairs shall be performed on the device unless
authorized by the department in writing.

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2. Reporting Requirements:

a. Unless otherwise provided by departmental polices and procedures, any

use of Electronic Control Devices will be reported to the deputy’s
immediate supervisor as soon as possible. This includes:

1. Intentional use of Electronic Control Devices against a human or
animal.

2. Any unintentional use of an Electronic Controlled Device on a fellow
deputy, bystander, or other person or animal.

3. Any accidental discharge.

. Intentional employment of Electronic Control Devices is a use of force.

Therefore, unless otherwise provided by departmental policy,
documentation will be made in the deputy’s report following an Electronic
Control Device discharge unless that discharge occurred during testing or
training.

. A Departmental Chemical Agent/Electronic Control Device Usage Report

will also be filled out by the user and forwarded to his/her immediate
supervisor.

4. Replacement

The Electronic Controlled Device cartridge shall be replaced after any
deployment or if inspection reveals damage.

The following is a list of acceptable restraining devices authorized for use by officers
to restrain suspects.

A. DEPARTMENT AUTHORIZED HANDCUFFS

B

. DEPARTMENT AUTHORIZED CHAINS, LEG IRONS/ STRAPS (SHACKLES)

C. DEPARTMENT AUTHORIZED BODY RESTRAINT DEVICES

D

. DEPARTMENT APPROVED FLEX CUFFS

Restraining Policy

A. It shall be the policy of the Sheriff's Office to take the necessary precautions to

NOTE:

protect the lives and safety of our officers, the public, and persons in our care
and custody, during any situation.

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B. All officers are reminded that the handling of an arrestee and or the transporting
of persons in the Department's care and custody can be dangerous. Only
reasonable force should be used to accomplish this lawful objective.

1. Officers should handcuff (double /ock) all prisoners’ hands behind their back.

2. The officer may handcuff (double lock) the prisoner with his hands in front, or
utilize other appropriate restraining devices where the prisoner:

a. Is in an obvious state of pregnancy;
b. Has a physical handicap; or

c. Has injuries that could be aggravated by standard handcuffing
procedures.

d. Is being arrested for an authorized traffic attachment arrest.

e. Is being seized (or taken into custody) as a result of an OPC, PEC,
during crisis interventions such as emergency committals dealing
with emotional disturbed persons or other exigent events.

3. Prisoners shall not be handcuffed to any part of the vehicle during transport.
4. Prisoners should be seat belted in all vehicles so equipped.

5. Approved restraint devices may be used to secure a prisoner who violently
resists arrest or who manifests mental disorders such that he poses a threat
to himself, the officer or the public.

C. A deputy may, in extreme situations, be forced to employ methods or weapons _
not commonly accepted for law enforcement. The guiding factor should be
whether the weapon or technique was reasonable under the circumstances.

D. Extremely violent prisoners may have to be additionally restrained. If necessary
to restrain the movements of both the hands and legs, it may be done by the
“Total Appendage Restraining Procedure.”

E. If prisoner is extremely violent, the officer should notify his supervisor and notify
and/or request medical services before beginning transport, unless immediate
removal from the scene is necessary.

F. Regarding the handcuffing of Juveniles, as always, department procedures,
officer discretion, common sense and officer safety, play important roles in
making a determination when handling a juvenile. The above provisions are to

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be followed for a juvenile, also. (*NOTE: LA R.S.13 (Infancy) provides that
those who have not reached the age of ten (10) are excluded from criminal
responsibility, but are still subject to the jurisdiction of Juvenile Courts. A
juvenile under the age of ten (10) years old may be taken into custody for
an offense as a “Child in need of Supervision.” If warranted by the type of
incident or “Special Circumstances” a juvenile under ten (10) years of age,
may be handcuffed consistent with this policy and Academy training.)

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